                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA,                )
                                         )
               Plaintiff,                )
                                         )
v.                                       )          No. 3:07-00256
                                         )          JUDGE ECHOLS
JAMES ALEXANDER and JEFFREY              )
ODOM,                                    )
                                         )
               Defendants.               )

                                     MEMORANDUM

        Pending before the Court are the Motions to Suppress (Docket

Entry Nos. 23 & 28) filed by Defendants James Alexander and Jeffrey

Odom.     The Government filed Responses to both motions.                  (Docket

Entry Nos. 25 & 37.)          The Court held an evidentiary hearing on

June 20, 2008.

                             I.   FINDINGS OF FACT

        On March 21, 2007, uniformed Murfreesboro Police Officer

Jacoby O’Gwynn was patrolling alone in his marked squad car in the

area of University, Vine, Sevier and Hancock Streets.                    His shift

that day was 2:00 p.m. to 10:00 p.m. and, as a member of the crime

suppression unit, he was assigned to patrol a six-block area in a

high crime area of Murfreesboro.              During his eight-hour shift he

passed    by    the   same   areas    again   and   again,    and   he   passed      a

particular house approximately ten (10) times.                He noticed that a

barbecue was taking place at the home and at least half the times

he passed by the house he observed two men, later identified as

Defendants Alexander and Odom, sitting in the front yard eating and


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drinking. At the time of his observations, Officer O’Gwynn did not

know the men’s identities, but he had previously seen Odom in the

neighborhood numerous times.        He did not see the men do anything

illegal as they socialized in the front yard where the barbecue was

taking place.

     Later on the evening of March 21, 2007 at approximately 9:28

p.m., when it was dark outside, Officer O’Gwynn had just completed

a traffic stop when he noticed a four-door blue Chevy Lumina

driving on University Street towards Vine Street.            The car was not
speeding; however, the vehicle did not have a white light or lamp

illuminating the rear license plate.

     Officer O’Gwynn is aware that the City of Murfreesboro adopted

an ordinance, § 32-1005(c), requiring automobile license plates to
be illuminated by a white light to a distance of fifty (50) feet.1

Officer O’Gwynn has read the ordinance and he has received training

on it.     He is sworn to enforce the Murfreesboro Code as well as

state law.     He has made hundreds and perhaps a thousand vehicle

stops based on violation of the license plate ordinance, and he

enforces    the   ordinance   because    he   believes    it   is   a   lawful

ordinance.    He does not issue many citations to drivers for not

having a proper rear license plate light because “not everyone

deserves a ticket.”      He admitted, however, that giving citations



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      The Court sustained Defendant Alexander’s objection to
admission of a copy of the Murfreesboro ordinance into evidence on
the ground that the Government failed to lay sufficient foundation
for the exhibit. (Gov’t Ex. 1, marked for identification only.)


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for this ordinance violation would help ensure correction of the

violations and that, without record of citations being given, it is

less likely that corrections are made.           The traffic stop Officer

O’Gwynn completed just before the one at issue here was also for a

violation of the license plate ordinance.

     Officer O’Gwynn followed the Chevy Lumina and watched it stop

at the stop sign on the corner of Vine and Hancock.            The Lumina was

less than fifty (50) feet from Officer O’Gwynn’s patrol car.                 As

the car turned right onto Hancock Street, Officer O’Gwynn turned on
the patrol car’s blue lights to stop the Lumina for the ordinance

violation.   Officer O’Gwynn did not know how many individuals were

riding in the car, he did not know the identity of the driver or

any passengers, and he had no basis to believe that anyone riding

in the vehicle had been involved in criminal activity or that

criminal activity was about to occur.          He decided to stop the car

solely because of the license plate ordinance violation.

     As Officer O’Gwynn turned on the patrol car’s blue lights, a

video recorder on the dashboard of the patrol car began recording

the vehicle stop automatically.       (Gov’t Ex. 2.)       The date and time

stamped on the video are inaccurate in that the date should be

March 21, 2007 instead of March 20, 2007, and the beginning time

should be 21:28 (9:28 p.m.) rather than 20:28 (8:28 p.m.).              In all

other respects the video accurately depicts the vehicle stop.

     Still photographs produced from the police video of the

vehicle stop appear to show that the Lumina’s rear license plate

was illuminated as Officer O’Gwynn followed the Lumina from the

                                      3


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stop sign on Vine around the street corner onto Hancock. The Court

cannot tell from these photographs, however, whether the Lumina’s

license plate was illuminated by a white light above the tag or

whether the license plate was illuminated when light from the

headlights or blue lights of Officer O’Gwynn’s patrol car struck

the reflective coating on the license plate.               The Court accepts

Officer   O’Gwynn’s    testimony    that    the      license   plate   was   not

illuminated by a separate operating white light affixed above the

license plate, as required by the Murfreesboro ordinance.                  (Def.
Exs. 2, 2A, 2B.)

     As the Lumina rolled to a stop near Hancock and Sevier

Streets, Officer O’Gwynn radioed to the dispatcher the Lumina’s

license plate number only to inform the dispatcher that he was

making a stop of that particular vehicle.            Officer O’Gwynn did not

ask the dispatcher to run the license plate information at that

time to check ownership and registration of the vehicle and the

dispatcher did not run a license tag check automatically.

     Officer O’Gwynn approached the driver’s side of the vehicle.

He told the driver, who identified herself as Latrice Johnson, that

he stopped her because the car’s rear license plate was not

illuminated as required by the ordinance.              He did not ask her to

get out of the car so he could show her that the license plate was

not properly illuminated.       Officer O’Gwynn asked Ms. Johnson to

produce her driver’s license, vehicle registration, and proof of

insurance.    Ms. Johnson had these documents attached together on

her sun visor and promptly handed them out the window.                  Officer

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O’Gwynn asked Ms. Johnson if she had any guns, knives, drugs or

other contraband.        She answered, No.”          According to Officer

O’Gwynn, Ms. Johnson was not free to leave.

     Officer O’Gwynn noticed three passengers in the car.                A man,

later identified as Ms. Johnson’s boyfriend, Jeffrey Odom, sat in

the front passenger seat.      A woman, Millie Gaines, sat in the left

rear passenger seat and a man, James Alexander, sat in the right

rear passenger seat.       Ms. Gaines is a half-sister to Ms. Johnson,

and Ms. Johnson knew Alexander through Odom.                  Officer O’Gwynn
recognized the two men as the ones he had seen attending the front

yard barbecue.

     Officer     O’Gwynn    asked   the   passengers     to    produce    their

identification.       He did this because he wanted to gauge their

reactions, and he follows the same procedure no matter who he

stops.   Odom handed Officer O’Gwynn a state probation card which

contained his identifying information and photograph.                 The rear

seat passengers indicated they did not have any identification.

Officer O’Gwynn then asked for their names, dates of birth, and

Social Security numbers.      He requests such information as standard

procedure to check for any outstanding arrest warrants. Ms. Gaines

identified herself as Terry Harris and gave a date of birth and

Social Security number.        Alexander identified himself as Deran

Albert and also gave a date of birth and Social Security number.

Officer O’Gwynn told the car’s occupants to “just hang tight and

I’ll be back with you in a minute.”



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     As Officer O’Gwynn turned to go back to his patrol car to run

computer checks on the information he had been given, he noticed

Officer Harry Haigh, also uniformed and armed, had arrived to

provide backup.       Officer Haigh’s patrol car was parked behind

Officer O’Gwynn’s, and Officer Haigh was standing at the rear of

the Lumina’s passenger side to counteract anything that might

happen.   According to Officer Haigh, the passengers were not free

to leave because if Odom had stepped out to leave, Officer Haigh

would have made him stay at the scene.
     Officer O’Gwynn got back into his patrol car to use a laptop

computer.    Ms. Johnson’s driver’s license, registration and proof

of insurance were valid.          Officer O’Gwynn called the Sheriff’s

Department to see if there were any active warrants on the driver

or the three passengers and apparently there were none. The Social

Security number Ms. Gaines provided matched the name Terry Harris.

The Social Security number Alexander provided, however, matched a

female person.        At this point Officer O’Gwynn believed that

Alexander was lying about his identity. Officer O’Gwynn shared his

suspicion with Officer Haigh and asked him to see what identifying

information Alexander would give to him.              Officer O’Gwynn admitted

he did not have any other reasonable suspicion that any of the four

occupants had engaged in wrongdoing.

     Officer    Haigh    again      took   identifying       information      from

Alexander.      The   testimony     does    not   reveal      what   information

Alexander gave to Officer Haigh.           In any event, Officer Haigh got

into Officer O’Gwynn’s patrol car to use the computer to check the

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information Alexander provided.          Meanwhile, Officer O’Gwynn asked

Alexander to step out of the car and asked if he had any guns,

knives or drugs on him.        Alexander replied, “No.”        Officer O’Gwynn

asked if Alexander would mind if he patted him down.                   Alexander

said, “No.”     Officer O’Gwynn instructed Alexander to turn toward

the rear of the Lumina and put his hands on the trunk.                   Officer

O’Gwynn conducted a pat-down of Alexander and felt a handgun on the

right   side   at     the   waistline.       Officer   O’Gwynn    reached    into

Alexander’s waistband and pulled out a .357 Ruger six-shot revolver
with his right hand.        He kept his left hand on Alexander and called

out to Officer Haigh that he had found a firearm.                Officer Haigh

told the car’s other three occupants to show their hands, and he

called for backup units.        Because Alexander had lied to him about

his identity, Officer O’Gwynn was pretty sure that Alexander

possessed the gun illegally because he did not present a permit to

carry the handgun. On closer examination of the gun later, Officer

O’Gwynn realized the gun had an obliterated serial number.

     Within seconds at least four patrol cars arrived on the scene.

An officer handcuffed Alexander, but it is not clear from the

testimony which officer completed the handcuffing. Officer O’Gwynn

arrested Alexander, gave him the Miranda rights verbally, and

placed him in the back seat of his patrol car.                 Officer O’Gwynn

focused on handling Alexander, who continued to identify himself as

Deran Albert.       Approximately twelve minutes had elapsed from the

initial vehicle stop to the handcuffing of Alexander.



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        When the backup units arrived, all of the car’s occupants were

ordered to get out of the vehicle.              The women were placed in

handcuffs and detained for officer safety, but they were not patted

down.       They were read the Miranda rights.

        Officer O’Gwynn admitted he did not have any reason to think

that Odom had done anything wrong.         Officer Haigh opened the front

passenger door, removed Odom from the vehicle, handcuffed him for

officer safety, and conducted a pat-down search, but no weapons

were found on Odom. At some unknown point, the Miranda rights were

read to Odom at the scene. Officer Haigh searched the interior and

trunk of the car incident to the arrest of Alexander.               He searched

all parts of the car’s interior, including the women’s purses.                 He

saw nothing amiss in the vehicle.

        The glovebox, however, was locked and Officer Haigh could not

find the key to the glovebox on Ms. Johnson’s key ring or in the

vehicle.      Officer Haigh did not ask Ms. Johnson to produce the key

to the glovebox.        Rather, because Odom had been sitting in the

passenger seat near the glovebox, Officer Haigh reached into Odom’s

pants pocket and found the glovebox key.2             Officer Haigh then used

the key to open the glovebox.        Officer Haigh felt it was better to

open the glovebox with the key than damage the vehicle while

opening the glovebox with tools.



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      Officer Haigh also testified that he took the key from the
pocket of Odom’s “outer clothing.” The Court finds that Officer
Haigh reached into Odom’s pants pocket to retrieve the key because
Officer Haigh also testified he thought Odom’s coat was off and he
could not recall if he put his hands in Odom’s coat pockets.

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      In the glovebox Officer Haigh found a lightweight knit cap

with a professional football team emblem on it lying on top of or

around a loaded Taurus 9 millimeter semi-automatic handgun.               (Def.

Odom Ex. 1.)     This weapon also had an obliterated serial number.

Officer O’Gwynn recalled seeing Odom wearing the same hat earlier

in the day when Odom attended the barbecue.                 O’Gwynn did not

mention the hat in his report prepared the next day (Def. Odom Ex.

1.)   At the scene, Ms. Johnson stated that the firearm found in the

glovebox was hers.      Odom denied that the firearm in the glovebox
was his.     Odom was taken to the police station for questioning

because he sat in the seat nearest the glovebox and the key was in

his pants pocket.

      The entire traffic stop lasted fifteen minutes or less.               All

of the officers left the scene within one-half hour after Officer

Gwynn stopped the Chevy Lumina.        Officer O’Gwynn believes that he

returned Ms. Johnson’s driver’s license, registration and proof of

insurance to her shortly after he asked for it.             He did not issue

her a citation for violating the rear license plate illumination

ordinance at that time because he was not ready to do so and he was

conducting an investigation into the identity of the rear seat

passengers.

      All four occupants were taken to the police department for

questioning.      Alexander was correctly identified and officers

learned there was an active warrant for his arrest for parole

violation. The interview of Alexander was not recorded on audio or

videotape.     Officer O’Gwynn read the Miranda rights to Alexander

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again at the start of the interview.            Alexander signed a written

form waiving his Miranda rights and consenting to be questioned.

The Government did not introduce this waiver and consent form into

evidence. Officer O’Gwynn has not seen the form since the file was

turned over to the District Attorney’s Office for prosecution.

Alexander told Officer O’Gwynn he bought the firearm on the street

for $75.00 and he wanted the weapon for protection because there

had been shootings in his neighborhood.               Officers also learned

there was an active arrest warrant for Ms. Gaines for a probation

violation.

     Ms. Johnson was also given the Miranda rights at the police

station.     She waived her rights in writing and agreed to answer

questions, but her waiver and consent form also was not introduced

into evidence.       The interview was recorded by hidden video camera.

(Gov’t Ex. 3.)   Ms. Johnson told the officers that the gun found in

the glovebox belonged to Odom, and she confessed that she had

earlier told them the gun belonged to her because she was trying to

protect Odom.        She explained that she dropped Odom off at the

barbecue earlier in the day and he possessed the gun at that time.

She returned to the barbecue later in the day.              In the afternoon,

Odom asked for her car keys and he put the gun in the glovebox.

Ms. Johnson was allowed to leave the police department.                       Ms.

Johnson testified at the hearing that she felt free to leave the

scene of the traffic stop before the police found the handgun in

the glovebox, but not afterwards.



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     Although Officer O’Gwynn testified he gave Ms. Johnson a

verbal warning at the police station to get the light over her rear

license plate repaired, Ms. Johnson denied that she was given such

a verbal warning.      She did not know if the light worked or not.

Ms. Johnson testified she had to ask Officer O’Gwynn twice why she

was stopped and he did not ask her at the beginning of the vehicle

stop whether there were any guns, knives, or drugs in the car.              She

further testified that Officer O’Gwynn did not return her driver’s

license, registration and proof of insurance to her until she was
at the police station. Ms. Johnson did not know that Alexander had

a gun on his person, but she knew there was a handgun in the

glovebox of her car.

     After Ms. Johnson’s interview, Odom was interviewed.                 This

interview was also recorded by hidden video camera. (Gov’t Ex. 3.)

Odom was placed in an interview room that appeared to be without a

window. His left arm was handcuffed to the table and his right arm

was free.   He sat at the table by himself for approximately twenty

(20) minutes.    Odom had been handcuffed an additional thirty (30)

to forty (40) minutes at the scene and during transport to the

police station.

     Detective Merrill Beene, Officer O’Gwynn and Officer Haigh

then entered the room to conduct the interview.             Detective Beene

was dressed in plain clothes, but Officers O’Gwynn and Haigh were

in uniform.     Detective Beene knew Odom.          Although the room was

small, the four men could sit in the room comfortably.              All three

officers wore sidearms but the guns were not brandished or set out

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in front of Odom during the interview.         The uniformed officers sat

on either side of Odom and Detective Beene sat in front of him.

Detective Beene, who has extensive experience in the Murfreesboro

Police Department’s narcotics bureau, read the Miranda rights to

Odom, and Odom then signed a written waiver of his Miranda rights

and agreed to be interviewed.        The Government did not introduce

Odom’s waiver and consent form into evidence.

     During the twenty-minute interview, Detective Beene did most

of the questioning.     Odom was animated and argued back and forth

with the officers, but the officers did not scream at Odom,

threaten Odom, or try to force Odom to give particular statements.

Detective Beene did not recall Odom requesting diabetic medication

at any time, nor did Odom complain about the conditions under which

the interview was taking place.

     Detective Beene did ask the same or similar questions over and

over again, and Odom gave different versions of events as these

questions were asked.        Odom insisted at the beginning of the

interview that he did not possess the gun found in the glovebox and

that the gun belonged to Ms. Johnson.         Eventually he admitted that

he had possessed the gun that morning, but not “today.”            At the end

of the interview, Odom admitted the gun was his after he was told

that Ms. Johnson disclosed during her interview that the gun was

his and she had only tried to protect him.           Odom then stated that

he placed the gun in the glovebox.         He said he purchased the gun

for his own protection, but he knew he was a convicted felon.             Odom

was placed under arrest at the end of the interview, which lasted

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twenty    (20)   to   twenty-five    (25)    minutes.       Detective     Beene

considered the interview to be short in comparison to others he had

done.

        In addition to other offenses, both Alexander and Odom were

charged as felons in possession of firearms.

                         II.   CONCLUSIONS OF LAW

        A temporary detention of individuals by police during a

traffic stop, even if only for a brief period and for a limited

purpose, constitutes a "seizure" of "persons" within the meaning of

the Fourth Amendment.       Whren v. United States, 517 U.S. 806, 810

(1996).    An officer may stop a vehicle so long as he has probable

cause to believe that a traffic violation has occurred, even if his

true reason for the stop is motivated by something other than the

traffic offense itself.        Id.; United States v. Ferguson, 8 F.3d

385, 391 (6th Cir. 1993) (en banc).         An officer also has authority

to stop a vehicle for a brief investigative detention if the

officer has a reasonable, articulable suspicion that criminal

activity is afoot. United States v. Simpson, 520 F.3d 531, 540-541

(6th Cir. 2008). Defendants Alexander and Odom, who were passengers
riding in Ms. Johnson’s car, have standing to challenge their

detention as a result of the traffic stop.             See United States v.

Perez, 440 F.3d 363, 369 (6th Cir. 2006).

        At issue in this case is the interplay between state motor

vehicle laws and an ordinance adopted in the municipal jurisdiction

where the traffic stop occurred. Officer O’Gwynn testified he

stopped Ms. Johnson as she drove down Hancock Street in the dark at

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9:30 p.m. at night because her Chevy Lumina did not have an

operating white light that illuminated the rear license plate so

that it was clearly legible to a distance of fifty (50) feet.

Defendants contend that Officer O’Gwynn lacked probable cause to

stop   Ms.   Johnson’s   car    because   state     law   does   not   require

illumination of the rear license plate on a passenger automobile.

The Government counters that Officer O’Gwynn relied on an ordinance

adopted by the City of Murfreesboro which requires illumination of

the rear license plate.        Defendants respond that the Court cannot

consider the city ordinance because the Government failed to get it

admitted into evidence at the suppression hearing, but even if the

ordinance is considered, it is inconsistent with state law and

could not provide a legal justification for Officer O’Gwynn’s stop

of Ms. Johnson’s car.

       The evidentiary issue is easily resolved.          The Court marked a

copy of the Murfreesboro ordinance, § 32-1005(c), as Government’s

Exhibit 1 for identification only because the Government did not

lay adequate foundation for admission of the exhibit into evidence.

In making this ruling, the Court relied on the Federal Rules of

Evidence.    The Court did not rest its decision on the Tennessee

evidentiary rule cited by Defendants which precludes a court from

taking judicial notice of an ordinance, but rather requires proof

of the ordinance in the absence of a stipulation by the parties.

See Metropolitan Gov’t of Nashville and Davidson Co. v. Shacklett,

554 S.W.2d 601, 605 (Tenn. 1977); Valley Forge Civic League v.
Ford, 713 S.W.2d 665, 669 (Tenn. Ct. Appeals 1986).              Because the

ordinance was not admitted into evidence, Defendants claim the

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Court cannot take judicial notice of the ordinance and consider its

substance.    The Court may consider the substance of the ordinance

even without taking judicial notice of it.               As the Sixth Circuit

recently made clear, the concept of judicial notice applies only to

proof of facts.        United States v. Dedman, 527 F.3d 577, 587 (6th

Cir. 2008).   The Court is still “entitled–-and indeed required–-to

determine the applicable law[.]” See id.               The Court carries the

responsibility to determine what the law is on any given subject,

and this is why the Sixth Circuit recently explained that “we used

to allow judicial notice of state law, [but] now we consider that

state law is simply a matter for the judge to determine.”                  Id.

     With this in mind, the Court examines the language of the

pertinent portion of the Murfreesboro ordinance, even though the

ordinance    was     not   admitted   into   evidence     at   the   suppression

hearing.    Section 32-1005(c) of the Murfreesboro Code provides:

        Either a tail lamp or separate lamps shall be so
     constructed and placed to illuminate with a white light
     the rear registration plate and render it clearly legible
     from fifty (50) feet to the rear. Any tail lamp or tail
     lamps, together with any separate lamp or lamps for
     illuminating the rear registration plate, shall be so
     wired as to be lighted whenever the head lamps or
     auxiliary driving lamps are lighted.

It appears that this ordinance was adopted in September 1989.

     A Tennessee statute, Tenn. Code Ann. § 55-9-404(a), Lamp at

end of train of vehicles – Penalty.--reads as follows:

       Every motor vehicle and every trailer or semitrailer
     which is being drawn at the end of a train of vehicles
     shall carry at the rear a lamp of a type which exhibits
     a yellow or red light plainly visible under normal
     atmospheric conditions from a distance of five hundred
     feet (500') to the rear of such vehicle, and such light
     shall be so constructed and placed that the number plate
     carried on the rear of such vehicle shall under like

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      conditions be so illuminated by a white light as to be
      read from a distance of fifty feet (50') to the rear of
      such vehicle.

A violation of this section is a Class C misdemeanor.              Tenn. Code

Ann. § 55-9-404(c).

      Section 55-9-404(a) was at issue in State v. England, 1998 WL

155584 (Tenn. Crim. App. March 31, 1998) (unpublished).               In that

case, a Sumner County deputy sheriff stopped the defendant for a

violation of § 55-9-404(a) because defendant’s pickup truck did not

have a light illuminating the rear license plate.                 The Sumner

County criminal court explicitly found that “[t]here is no question

that the defendant was lawfully stopped by the officer for a

violation of T.C.A. 55-9-404[,]” but granted the motion to suppress

on other grounds.       England, 1998 WL at 155584 at *2.              On the

State’s appeal, the parties agreed that the officer made a lawful

stop under § 55-9-404(a), and argued other issues in the case.

      In 1999, a district judge in this District suppressed evidence

in a case where a Metropolitan Nashville police officer stopped the

defendant for an alleged violation of § 55-9-404(a). United States
v. McKissack, 76 F.Supp.2d 836, 837 (M.D.Tenn. 1999). The district

judge ruled that § 55-9-404(a) did not apply to single vehicles,

but only to a vehicle located at the end of a train of vehicles.

Id.   This interpretation derived from the title of the statute--

“Lamp at end of train of vehicles–Penalty,” and the court observed

that construing the statute to require a license plate light on

every automobile would make the statute much broader than the

statute’s heading and would be contrary to the plain meaning of the

statute.   Id. at 838-839.    The court also noted that the content of

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other statutory sections immediately preceding § 55-9-404(a), such

as § 55-9-402 and § 55-9-403, applied to single motor vehicles and

these statutes pertaining directly to single vehicles supported

construing § 55-9-404(a) as not applying to single vehicles.                Id.

The court distinguished England on the ground that whether § 55-9-

404 applied to a single vehicle, as opposed to a vehicle “at the

end of a train of vehicles,” was not at issue in England and the

defendant admitted in that case that the officer made a lawful

stop.     Id. at 838.   The court did not address the fact that the

state trial court concluded as a matter of law after an evidentiary

hearing that the initial stop was lawful and thereafter, the

parties did not challenge the stop on direct appeal but instead

focused on the other grounds given to justify suppression of

evidence.

        Six months after McKissack, the Tennessee Supreme Court issued

its opinion in State v. England, 19 S.W.3d 762 (Tenn. 2000).              With

regard to the lawfulness of the initial stop in that case, the

Tennessee Supreme Court stated:

        In this case, both parties agree with the lower courts’
        conclusion that the initial stop of England’s pick-up
        truck was a legal stop, based upon his violation of § 55-
        9-404. Accordingly, the lower courts correctly concluded
        that the initial stop of England’s vehicle was
        reasonable.

Id. at 766.      Thus, because the parties no longer challenged the

lawfulness of the stop after the trial court held the stop lawful

under § 55-9-404(a), the Tennessee appellate courts did not discuss

the issue in any greater detail.




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       Despite this apparent recognition by Tennessee state courts

that a police officer could lawfully stop a driver if his vehicle

did not have a white light illuminating the license plate, in 2004

the Tennessee General Assembly amended § 55-9-404 to add a new

subsection (b) and renumber the old subsection (b) as subsection

(c).    Subsection (b) now reads:          ”The provisions of this section

shall not apply to a single motor vehicle as is required in § 55-9-

402, but shall only apply to the last motor vehicle being drawn at

the end of a train or group of motor vehicles.”                 The preamble of

the legislative act did not mention the Tennessee Supreme Court’s

published opinion in England, but cited the federal court decision

in McKissack.     The preamble explained that the statute should be

amended “to bring the statutes of this state into conformity with

the    common   law   on   those    occasions    when   the      judiciary    has

interpreted the plain meaning of a statute[.]” 2004 Tennessee Laws

Pub. Ch. 488 (H.B. 2846).

       The   Murfreesboro     ordinance       requiring     a     white      light

illuminating a vehicle’s rear license plate, which has been in

existence since at least 1989, is consistent with § 55-9-404(a) as

that statute was construed by the state courts through 2000.                  See

England, 19 S.W.3d at 766.            It appears that, when the state

legislature amended § 55-9-404(a) in 2004, the City of Murfreesboro

did not thereafter amend its ordinance.

       Because § 55-9-404(a) in its current form does not expressly

apply to single vehicles and because Tenn. Code Ann. § 55-9-402

does not expressly require a single motor vehicle to be equipped

with a white light illuminating the rear license plate, the

                                      18

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Defendants argue that the Murfreesboro ordinance requiring such a

light is void because it is in conflict with state law.                   In support

of this argument, Defendants cite Tenn. Code Ann. § 55-10-307(a),

which currently provides in pertinent part:

       Any incorporated municipality may by ordinance adopt,
     by reference, any of the appropriate provisions of §§ 55-
     8-101 – 55-8-180, 55-10-101 – 55-10-310, 55-50-301, 55-
     50-302, 55-50-304, 55-50-305, 55-50-311, 55-10-312, and
     55-12-139 and may by ordinance provide additional
     regulations for the operation of vehicles within the
     municipality, which shall not be in conflict with the
     provisions of the listed sections.

According   to   the       Tennessee    Supreme     Court,       “it   seems   beyond

reasonable dispute that the legislature had a rational basis for

enacting section 55-10-307.”             City of Chattanooga v. Davis, 54

S.W.3d   248,    276-277      (Tenn.    2001).       “As    we    have   previously

recognized ourselves,” the court explained,

     the legislature may confer jurisdiction upon municipal
     courts “to try and dispose of cases based upon violation
     of State [traffic] statutes” for the purposes of
     “economy, efficiency and expeditious handling of traffic
     cases.” See Hill v. State ex rel. Phillips, 216 Tenn.
     503, 508, 392 S.W.2d 950, 952 (1965).         Indeed, as
     evidenced by the section immediately following 55-10-307,
     it was apparently for this very reason that the
     legislature permitted municipalities to adopt these
     traffic statutes by reference into their respective
     codes.[footnote omitted]

Id. at 276-277.      Section 55-10-308 provides in pertinent part that

“[w]here §§ 55-8-101 –- 55-8-180 and 55-10-101 –- 55-10-310 apply

to territory within the limits of a municipality, the primary

responsibility       for    enforcing     such    sections       shall   be    on   the

municipality which shall be further authorized to enforce such

additional ordinances for the regulation of the operation of

vehicles as it deems proper[.]”


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     The language of § 55-10-307 unambiguously states that a

municipality “may by ordinance provide additional regulations for

the operation of vehicles within the municipality, which shall not

be in conflict with the provisions of the listed sections.”

Section § 55-9-404(a) is not even listed in § 55-10-307(a) as one

of the enumerated statutory sections which a municipality may adopt

by reference and to which the prohibition against conflicting

municipal ordinances applies.         This lack of mention in § 55-9-

404(a) in § 55-10-307 cuts against Defendants’ argument that the

Murfreesboro ordinance is in conflict with state law.

     Additionally,     at   the    time   Officer    O’Gwynn    stopped     Ms.

Johnson’s car on March 21, 2007, § 55-10-307 was not in effect.

The statute was repealed effective June 27, 2006, Tenn. Code Ann.

§ 55-10-307 (2006), and the statute was not reinstated until

May 10, 2007.    Tenn. Code Ann. § 55-10-307 (2007).            Thus, at the

time the traffic stop occurred in March 2007, § 55-10-307(a) was

not effective, and Defendants may not rely upon that statute to

contend that Officer O’Gwynn enforced a municipal ordinance that is

in conflict with state law when he stopped Ms. Johnson’s car for

failure to have license plate light.

     Even if § 55-10-307 had been in effect and even assuming the

Murfreesboro ordinance may have been judicially voidable as in

conflict with § 55-9-404(a), the motion to suppress evidence still

will not be granted.     Officer O’Gwynn “had no objective reason to

question the vitality” of the Murfreesboro ordinance.                   United
States v. Moreno, 43 Fed.Appx. 760, 766-767 (6th Cir. 2002). As the

Sixth Circuit stated in Moreno in construing a Memphis window-

                                     20

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tinting ordinance that was much broader in scope than Tennessee’s

window-tinting statute,

     [f]acially, the ordinance was a commonplace automotive
     equipment safety regulation of the kind which fits neatly
     into the traditional “police power” of state and local
     governments to regulate the health, safety, welfare, and
     morals of the community. . . . A constable of the peace,
     unschooled in the jurisprudence of constitutional
     federalism and state law preemption is entitled to
     presume that a duly adopted city ordinance which he was
     sworn to enforce comports with the American Constitution
     and superior state law, absent facial invalidity or a
     contrary controlling judicial decree. . . .
          Therefore, because Officer Valentine’s invocation of
     the Memphis ordinance as authorization for the subject
     traffic stop was “objectively reasonable,” that stop is
     unassailable even if the ordinance is judicially voidable
     by reason of conflict with the federal Constitution or
     the law of Tennessee. See Illinois v. Krull, 480 U.S.
     340, 349-50, 107 S.Ct. 1160, 94 L.Ed.2d 364 (1987)
     (remarking, inter alia, that “[u]nless a statute is
     clearly unconstitutional, an officer cannot be expected
     to question the judgment of the legislature that passed
     the law.”)

Moreno, 43 Fed.Appx. at 767 (emphasis in original).

     The Court concludes that it was objectively reasonable for

Officer O’Gwynn, like the police officer in Moreno, to rely on the

validity of the Murfreesboro city ordinance that he was sworn to

uphold and enforce.     See Krull, 480 U.S. at 342-344, 347 (holding
exclusionary rule does not require suppression of evidence where

there is no value in trying to deter police from acting in

objectively reasonable reliance on particular statutes later held

to be unconstitutional, for exclusionary rule was not intended to

deter   legislators    from   passing     unconstitutional     laws).       The

Murfreesboro license plate ordinance does not appear on its face to

be unconstitutional, even though it may now conflict with § 55-9-

404(a), and Officer O’Gwynn was entitled to rely on the judgment of


                                     21

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the city government that passed the ordinance.                See Moreno, 43

Fed.Appx. at 767. Accord United States v. Smart, 393 F.3d 767, 770

(8th   Cir.   2005)   (observing    Eighth   Circuit     follows    rule   that

distinction between police officer’s mistake of law and mistake of

fact is not relevant to Fourth Amendment inquiry; validity of stop

depends on whether officer’s actions were objectively reasonable in

the circumstances); cf. United States v. McDonald, 453 F.3d 958,

961-962 (7th Cir. 2006) (noting circuit split on whether police

officer’s mistake of law can support probable cause and joining

courts holding that mistake of law cannot support probable cause).

       Finally, the Murfreesboro ordinance remains consistent with

other provisions of state law.         At the time of the traffic stop,

Tenn. Code Ann. § 55-4-110(b) provided (emphasis added):

         55-4-110. Display of registration plates – Manner –
       Penalty for violation.–

       * * * *

       (b)   Every registration plate shall at all times be
       securely fastened in a horizontal position to the vehicle
       for which it is issued so to prevent the plate from
       swinging and at a height of not less than twelve inches
       (12") from the ground, measuring from the bottom of such
       plate, in a place and position to be clearly visible and
       shall be maintained free from foreign materials and in a
       condition to be clearly legible. No tinted materials may
       be placed over a license plate even if the information
       upon such license plate is not concealed.3

A violation of § 55-4-110(b) is a Class C misdemeanor.              Tenn. Code

Ann. § 55-4-110(c)(1).




       3
      Tenn. Code Ann. § 55-4-103(f)(1) also stated in part that
“[t]o promote highway safety and increase visibility and legibility
on registration plates, the same shall be fully reflectorized.”


                                      22

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     Both state and federal courts in Tennessee have held that a

police officer has probable cause to make a traffic stop in

darkness if the license plate on a vehicle is not clearly visible

or clearly legible to the officer.         See State v. Matthews, 2002 WL

31014842 at **2-3 (Tenn. Crim. App. Sept. 20, 2002)(holding officer

had probable cause to stop vehicle one-half hour after sunset where

legislature intended vehicle license plates to be clearly visible

at all times, defendant’s rear license plate was not illuminated by

white light to keep it clearly visible under § 55-4-110(b), and

officer could not tell if car had a license plate); United States

v. Dycus, 151 Fed.Appx. 457, 460-461(6th Cir. 2005)(holding officer

had probable cause to stop vehicle in darkness where license plate

was not illuminated, driver failed to keep license plate clearly

visible as required by § 55-4-110(b), and officer could not tell if

car had license plate).      See also United States v. Anderson, 2008

WL 1734198 at **1-4 (E.D. Tenn. April 10, 2008)(holding officer had

probable cause to stop vehicle for lack of clearly visible license

plate under § 55-4-110(b) where license plate light was operating,

but plate was not affixed in designated area and was instead

propped up in back window where officer could not see the plate);

United States v. Ratcliff, 2006 WL 2771014 at **4-5 (E.D. Tenn.

Sept. 25, 2006) (holding officer had probable cause to stop vehicle

for failure to keep license plate visible under § 55-4-110(b) where

trailer hitch obscured one numeral of license plate); United States
v. Walton, 2004 WL 3460842 at *4-5 (M.D. Tenn. Nov. 12, 2004)

(holding   officer    had   probable      cause     to   stop   vehicle   where

commercial frame around license plate blocked view of state of

                                     23

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registration and plate was not clearly visible under § 55-4-

110(b)), aff’d 258 Fed.Appx. 753, 756 (6th Cir. 2007).                 But see

State v. Hall, 2007 WL 2917728 at **3-4 (Tenn. Crim. App. Oct. 5,

2007) (upholding suppression of evidence where officer stopped

vehicle on basis that it was hard to see license plate, not that he

was unable to see license plate); State v. Anderson, 2005 WL 292430

at **1-4 (Tenn. Crim. App. Feb. 8, 2005) (upholding suppression of

evidence where officer stopped vehicle because commercial frame

partially   obscured   issuing     county   but     courts   determined    that

license plate was not obscured).

     In this case, Officer O’Gwynn testified that he observed Ms.

Johnson’s Chevy Lumina driving down the street in darkness without

a white light illuminating the rear license plate so that the plate

was clearly visible and clearly legible.             At a minimum, Officer

O’Gwynn had reasonable suspicion to stop the vehicle to investigate

an ongoing misdemeanor violation of state traffic law.              Tenn. Code

Ann. § 55-4-110(b); Simpson, 520 F.3d at 541 (“Since failure to

keep a licence plate ‘clearly legible’ is an ongoing violation of

§ 55-4-110(b), the standard of reasonable suspicion applies.”). As

previously explained, in the Court’s view Officer O’Gwynn also had

probable cause to stop Ms. Johnson’s vehicle for violating the

Murfreesboro ordinance requiring a white light illuminating the

rear license plate so that the plate was clearly visible and

legible.    Consequently, in light of the foregoing, the Court holds

that the traffic stop in this case was lawful.

     As Officer O’Gwynn pulled up behind the Chevy Lumina, his

headlights illuminated the Lumina’s rear license plate so that

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Officer O’Gwynn was able to contact the dispatcher and identify the

car he had stopped by the license plate number.             Officer O’Gwynn

did not run a check on the license plate number at that time.

     Officer O’Gwynn approached the driver’s door and Ms. Johnson

promptly produced her driver’s license, registration and proof of

insurance upon request.      In the ordinary course of police work,

Officer O’Gwynn’s had authority to ask the passengers to produce

identifying information without implicating the Fourth Amendment.

Hiibel v. Sixth Judicial Dist. Court of Nevada, 542 U.S. 177, 185

(2004). Defendant Alexander provided a false name and Social

Security number to Officer O’Gwynn, and upon learning in a matter

of less than five minutes that the information Defendant Alexander

had given was false, it was not unreasonable for Officer O’Gwynn to

ask Officer Haigh to question Defendant Alexander again about his

identifying information.     With the officers’ reasonable suspicions

aroused, Officer O’Gwynn lawfully asked Defendant Alexander to step

out of the car.      See Maryland v. Wilson, 519 U.S. 408, 410 (1997)

(holding police may ask passenger to exit car).             Officer O’Gwynn

asked Defendant Alexander for consent to conduct a pat-down search

for weapons, and Defendant Alexander granted such consent. Officer

O’Gwynn then found the firearm in Alexander’s waistband.

     At that point, Officer Haigh called for backup, and when

backup officers arrived, Ms. Johnson, Ms. Gaines and Defendant Odom

were asked to get out of the Chevy Lumina.             See Pennsylvania v.
Mimms, 434 U.S. 106, 111 (1977) (holding police may ask driver to

exit car);   Wilson, 519 U.S. at 410.      Having found a loaded handgun

on Defendant Alexander, Officer Haigh was justified in conducting

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a pat-down search of Defendant Odom to look for any additional

weapons that might place the officers and others in danger.                      See

Terry v. Ohio, 392 U.S. 1, 27 (1968).

     Officer Haigh’s search of the vehicle for any additional

weapons was proper as a search incident to Defendant Alexander’s

arrest.    See United States v. Nichols, 512 F.3d 789, 796-797 (6th

Cir. 2008).       The search of the car’s interior could permissibly

extend to the locked glovebox. See id.

     Finding      the   glovebox      locked,   Officer     Haigh    reached   into

Defendant Odom’s pocket and pulled out the key to the glovebox.

Using the key to open the glovebox, Officer Haigh located the

handgun    that    Defendant     Odom     is    now     accused     of   possessing

unlawfully.

     Officer Haigh apparently felt the key in Defendant Odom’s

pocket earlier when he conducted the lawful pat-down search for

weapons, although Officer Haigh did not testify directly on this

point.    The Government has not defended Officer Haigh’s conduct in

reaching into Odom’s pocket to retrieve the key, and the Court

concludes that Officer Haigh’s conduct was an unreasonable search

forbidden by the Fourth Amendment. See Minnesota v. Dickerson, 508

U.S. 366, 373 (1993) (holding Terry patdown must be strictly

limited to that which is necessary to discover weapons that might

be used to harm officers or others nearby); United States v.

Holmes, 505 F.3d 1288, 1292 (D.C. Cir. 2007)(holding that officer

had no right to take key from defendant’s pocket during Terry
patdown where key itself was not contraband).                     Thus, the Court

holds that the Government may not introduce the key into evidence

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at trial or offer other evidence and testimony about Officer Haigh

using    the   key    to   gain   access    to   the     locked   glovebox.       The

Government also may not use evidence or engage in argument that the

key taken from Defendant Odom’s pocket is itself evidence of Odom’s

possession of the handgun and ammunition found in the glovebox.

      The Government argued at the close of the evidentiary hearing

that the handgun inevitably would have been discovered in the

glovebox.      The Government bears the burden to prove inevitable

discovery by a preponderance of the evidence.                 Holmes, 505 F.3d at

1292.     Officer Haigh testified that using the key to open the

glovebox caused no damage to the car while using tools to open the

glovebox would have damaged the car. Officer Haigh’s testimony

implies that he or other officers would have gained access to the

locked glovebox by using tools even if the key had not been found.

Defendant Odom did not produce any contradictory evidence.                     Thus,

the Court concludes that the Government carried its burden to prove

by a preponderance of the evidence that Officer Haigh or another

officer would have used tools and force to open the glovebox and

the   handgun,       ammunition   and     hat    would    have    been   inevitably

discovered. For this reason, the handgun, ammunition and hat found

in the glovebox will be admissible at trial.

        The Court concludes that the traffic stop was not unreasonably

prolonged because the stop in its entirety lasted fifteen minutes

or less from the time Officer O’Gwynn turned on his blue lights to

the point Defendants Alexander and Odom were placed under arrest

following discovery of the loaded handguns.                 See United States v.
Ellis, 497 F.3d 606, 612-614 (6th Cir. 2007).                  Considering all of

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the circumstances, the Court concludes that the scope and length of

the     traffic        stop     did    not    transform      the      stop     into      an

unconstitutional seizure.

      Finally, Defendant Odom claims that he was subjected to

unconstitutional interrogation at the police department. The Court

does not agree.         The interview lasted approximately twenty minutes

and occurred between 10 p.m. and midnight.                      Odom was in police

custody at the police station because he was under arrest and had

one arm handcuffed to a table.                      However, having watched the

videotape of Odom’s interview, the Court believes that Odom is an

adult    male     of    at     least   average      intelligence        who   has   prior

experience in the criminal justice system.                    Detective Beene read

Odom the Miranda rights orally and Odom stated he understood his

constitutional rights and waived them in writing, as captured in

the videotape of the interrogation.                 This was the second time Odom

had heard the Miranda rights read to him that night because the

rights were also read to him at the scene of the traffic stop.

Odom did not request an attorney or exercise his right to remain

silent    prior        to    the   interview.        Rather,     he     agreed      to   be

interviewed.

      The interview room was small, but four men sat around a table

comfortably and none of the three officers were sitting on the same

side of the table as Odom.                   Detective Beene did most of the

questioning       and       repeated      certain   questions      to    probe      Odom’s

veracity. The officers did not use physical force or threats in an

effort to compel Defendant Odom to answer questions or give a

confession.       The officers were wearing sidearms, but they did not

                                             28

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show the weapons during the interview or set them on the table.              No

promises were made to Odom in exchange for a confession.             Odom did

not indicate he needed food, water, medical care or a bathroom

break. He did not at any time interrupt the questioning to request

an attorney or invoke his right to be silent and end all further

questioning.    In fact, Defendant Odom was very vocal during the

interview and openly argued with Detective Beene.

     The Court concludes that Odom willingly changed his story and

admitted possession of the firearm found in the Lumina’s glovebox

after Detective Beene told Odom that Ms. Johnson had informed them

the gun belonged to Odom.      At that point, Odom confessed that the

gun was his and that he possessed it on the day in question.

      Having considered the totality of the circumstances, the

Court concludes that Defendant Odom’s will was not overborne.

United States v. Craft, 495 F.3d 259, 263 (6th Cir. 2007).               Thus,

the Court holds that any statements Odom made voluntarily or during

police interrogation are admissible in evidence at trial. See Moran

v. Burbine, 475 U.S. 412, 422-423 (1986).

                            III.   CONCLUSION

     For all of the reasons stated, Defendant Alexander’s Motion to

Suppress (Docket Entry No. 23) will be denied.             Defendant Odom’s

Motion to Suppress (Docket Entry No. 28) will be granted in part

and denied in part.        The Government will be prohibited from

introducing the Lumina glovebox key into evidence at trial, as well

as any testimony by Officer Haigh or any other witness that the

glovebox key was found in Defendant Odom’s pocket at the scene of

the traffic stop and that the key was used to open the glovebox.

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The Government may elicit testimony from Ms. Johnson that she gave

the glovebox key to Defendant Odom earlier on the day of the

traffic stop and the Government may present evidence that the

Lumina’s glovebox was opened, where Officer Haigh found a handgun,

ammunition and a hat. All other aspects of Defendant Odom’s motion

to suppress will be denied.

     An appropriate Order will be entered.



                                   ___________________________________
                                   ROBERT L. ECHOLS
                                   UNITED STATES DISTRICT JUDGE




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